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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION
                             CASE NO. 22-cv-22538-ALTMAN/Reid

  Pierce Robertson, et al., on behalf of themselves and
  all others similarly situated,

         Plaintiffs,

  v.

  Mark Cuban, et al.,

         Defendants.
                                                          /

     PLAINTIFFS’ UNOPPOSED MOTION FOR LEAVE TO FILE RESPONSE TO
  DEFENDANTS’ MOTIONS FOR SANCTIONS UNDER SECTION 1927 UNDER SEAL

         Pursuant to the Court’s Stipulated Protective Order [ECF No. 75], Plaintiffs respectfully
  request the Court enter an order granting leave to file their Response to Defendants’ Motions for
  Sanctions Under Section 1927 [ECF No. 129] under seal. A proposed order accompanies this motion
  as Exhibit A.
                   CERTIFICATE OF L.R. 7.1(a)(3) GOOD FAITH CONFERENCE
         Plaintiffs’ counsel certifies that they have conferred in good faith with Defendants’ counsel
  and Defendants do not oppose the relief sought in this motion.


  Dated: May 25, 2023                                         Respectfully submitted,


   By: /s/ Adam M. Moskowitz                          By: /s/ David Boies
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                                                         Co-Counsel for Plaintiffs and the Class



                                        CERTIFICATE OF SERVICE

          I hereby certify that a true and correct copy of the forgoing was filed on May 25, 2023, via the
  Court’s CM/ECF system, which will send notification of such filing to all attorneys of record.

                                                            By: /s/ Adam M. Moskowitz______
                                                                    ADAM M. MOSKOWITZ
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